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                                                                     . u.a.   DISTRICT COURT E.D.N.Y.

 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
                                                                          * OCT 18 2016 *
                                                                          IROOKLYN OFFICE
  UNITED STATES OF AMERICA                           15-CR-382

               -against-                             Statement of Reasons Pursuant to
                                                     18 U.S.C. § 3553(c)(2)
  TYRAN TROTTER,

                      Defendant.


 JACK B. WEINSTEIN, Senior United States District Judge:

 Appearances

 For United States:
                                                     Lauren Howard Elbert
                                                     United States Attorney's Office
                                                     Eastern District of New York
                                                     271 Cadman Plaza East
                                                     Brooklyn, NY 11201
                                                     718-254-7577
                                                     lauren.elbert@usdoj.gov

                                                     Marcia Maria Henry
                                                     United States Attorney's Office
                                                     Eastern District of New York
                                                     271 Cadman Plaza East
                                                     Brooklyn, NY 11201
                                                     718-254-6393
                                                     marcia.henry@usdoj.gov

                                                     Michael P. Robotti
                                                     United States Attorney's Office
                                                     Eastern District of New York
                                                     271 Cadman Plaza East
                                                     Brooklyn, NY 11201
                                                     718-254-7576
                                                     michael.robotti@usdoj.gov

 For Defendant:
                                                    Jeremy Schneider
                                                    Rothman, Schneider, Soloway & Stem,
                                                    P.C.
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                                             100 Lafayette Street, Suite 501
                                            New York, NY 10013
                                            212-571-5500
                                            j schneider@rssslaw.com

                                            Lucas Craig Arment Anderson
                                            Rothman, Schneider, Soloway & Stem,
                                            P.C.
                                            100 Lafayette Street, Suite 501
                                            New York, NY 10013
                                            212-571-5500
                                            landerson@rssslaw.com




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I.                  Introduction

                    Defendant pled guilty to one count of conspiracy to distribute heroin pursuant to 21

     U.S.C. §§ 846 and 841(b)(l)(C). He participated in a drug trafficking organization ("DTO") to

     distribute heroin in Queens, New York. Eleven other defendants are currently awaiting trial or

     sentencing in the above-captioned case.

                    On October 7, 2016, defendant was sentenced to two years in custody with approximately

     15 months time-served, three years of supervised release, and a $100 special assessment. See

     Sentencing Hr'g Tr., Oct. 7, 2016 ("Oct. 7 Sent. Hr'g"). The court recommended that in the last

     six months of his sentence, Mr. Trotter be transferred to a facility such as a halfway house that

     will assist him in his re-integration into his community. Id.

               A.         Instant Offenses

                    Mr. Trotter is a 20-year-old U.S. citizen. See Presentence Investigation Report, Sept. 22,

     2016 ("PSR"), at 2. An investigation commenced by Homeland Security Investigation ("HSI")

     and other law enforcement agencies in 2013 revealed that Mr. Trotter, together with Kamel

     Lambus, Stanley Fuller, Shavona Trappier, Shakeem Powell, Sean Brabram, Scott Williams,

     Tyrone Thomas, Andre Mitchell, Earl Davis, Michael Scott, and Henry Curry ("defendants"),

     was participating in a street gang called Paper Chasing Goons. PSR at ir 2. The remaining

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defendants are currently awaiting . trial or sentencing. Id. at 3. The investigation revealed that the

DTO had access to narcotics and firearms, and distributed heroin to a network of drug traffickers

who then sold it to customers. Id at ilil 2-3. Defendants sold heroin from several stash houses,

and during the course of the investigation, it was determined that Mr. Trotter used a mobile

telephone to distribute heroin to the DTO's customers. Id. at ilil 3-4.

          Between November 2014 and July 2015, Mr. Trotter conspired to distribute at least 400

grams of heroin as an independent drug dealer within the DTO. There is no evidence that Mr.

Trotter possessed or used a firearm in connection with his involvement in the DTO. Id at ilil 8-9.

     B.      Arrest

          Mr. Trotter was arrested by HSI agents on July 8, 2015. PSR at if 7. He has remained in

custody since his arrest. Id. at 1.

     C.      Guilty Plea

          On July 14, 2016, Mr. Trotter pied guilty to one count of conspiracy to distribute heroin

pursuant to 21 U.S.C. §§ 846 and 841(b)(l)(C). See Hr'g Tr., July 14, 2016, ECF No. 260, at

18:14-19:22. The offense carried a maximum term of imprisonment of20 years. 21 U.S.C. §

841(b)(l)(C). A special assessment of $100 was mandatory. 18 U.S.C. § 3013. The statutory

provisions and Sentencing Guidelines ("Guidelines") impose a term of supervised release of

three years. 21 U.S.C. § 841(b)(l)(C); U.S.S.G. § 5Dl.2(c).

     D.          Sentencing Hearing

          A sentencing hearing was conducted on October 5 and 7, 2016. The sentencing hearing

was videotaped to develop an accurate record of the courtroom atmosphere, as well as some of

the subtle factors and considerations that a district court must consider in imposing a sentence.

See 18 U.S.C. ,§ 3553(a); In re Sentencing, 219 F.R.D. 262, 264-65 (E.D.N.Y. 2004) (describing

the value of video recording for the review of sentences on appeal).

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 II.            Offense Level, Category, and Sentencing Guidelines Range

                Defendant's base offense level is 26, with a criminal history category ofl. See PSR at ifif

       50, 62. The offense level was decreased by three points pursuant to U.S.S.G. § 3E.l.l(a)-(b) for

       defendant's acceptance of responsibility. PSR at ifif 57-58. The total adjusted offense level is

       23. Id. at if 59. The parties do not object to the above Guidelines calculation. See Oct. 7 Sent.

       Hr'g. The Guidelines imprisonment range is 46 to 57 months. See U.S.S.G. Ch. 5 Pt. A; PSR at

       ir 90.
                Pursuant to the Supreme Court's decision in United States v. Booker, the Guidelines are

       advisory; a sentencing court may depart from the Guidelines in the interest of justice as well as

       in light of other statutory concerns as expressed in section 3553(a). United States v. Booker, 543

       U.S. 220, 245-46 (2005); see also United States v. Cavera, 550 F.3d 180, 189 (2d Cir. 2008) (en

       bane) ("It is now, however, emphatically clear that the Guidelines are guidelines-that is, they

       are truly advisory. A district court may not presume that a Guidelines sentence is reasonable; it

       must instead conduct its own independent review of the sentencing factors, aided by the

       arguments of the prosecution and defense.").

III.            Law

                A sentencing court shall "state in open court the reasons for its imposition of the

       particular sentence." 18 U.S.C. § 3553(c). If the sentence is not of the kind prescribed by, or is

       outside the range of, the Sentencing Guidelines referred to in section 3553(a)(4) of title 18, the

       court shall indicate the specific reasons for imposing a different sentence. See 1-8 U.S.C. §

       3553(c)(2). These "reasons must also be stated with specificity in a statement of reasons form."

       Id. Even though the Guidelines are now advisory rather than mandatory, Booker, 543 U.S. at

       245-46, the sentencing court must still adhere to the requirements of 18 U.S.C. § 3553(c)(2).

       United States v. Jones, 460 F.3d 191, 197 (2d Cir. 2006).

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             The sentencing court's written statement of reasons shall be "a simple, fact-specific

      statement explaining why the Guidelines range did not account for a specific factor or factors

      under§ 3553(a)." United States v. Rattoballi, 452 F.3d 127, 138 (2d Cir. 2006), abrogated in

  part on other grounds by Kimbrough v. United States, 552 U.S. 85 (2007). Such a statement

      should demonstrate that the court "'considered the parties' arguments' and that it has a 'reasoned

      basis for exercising [its] own legal decisionmaking authority."' United States v. Cavera, 550

      F.3d 180, 193 (2d Cir. 2008) (en bane) (quoting Rita v. United States, 551 U.S. 338, 356 (2007)).

             In view of the excessive incarceration rates in the recent past and their unnecessary,

      deleterious effects on individuals sentenced, society and our economy, parsimony in

      incarceration is to be prized. See, e.g., 18 U.S.C. § 3553(a) ("The court shall impose a sentence

      sufficient, but not greater than necessary."); National Research Council of the National

      Academies, The Growth ofIncarceration in the United States, Exploring Causes and

      Consequences, 8 (2014) ("Parsimony: the period of confinement should be sufficient but not

      greater than necessary to achieve the goals of sentencing policy.").

IV.          18 U.S.C. § 3553(a) Considerations

             The court considered the "nature and circumstances of the offense a,nd the history and

      characteristics of the defendant." 18 U.S.C. § 3553(a)(l).

             Mr. Trotter was born in 1996 in Queens, New York. PSR at, 69. He has nine siblings,

      one of whom is currently incarcerated. Id. at, 70. Defendant's mother is a recovering drug

      abuser and currently works as a house cleaner. Id at, 69. Defendant never met his father. Id

      Defendant resided with his mother for the first fourteen years of his life, but when she lost her

  job and family home in approximately 2010 due to narcotics abuse, defendant and his brothers

      were placed in a foster home in Queens. Id at , 71. After several months in foster care,

      defendant lived in a group home for two years. Id Until his arrest, he did not have a stable

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 place to live: he resided with friends, family members, and his former girlfriend. Id. He intends

 to live with his mother once he is released from custody. Id. His family is aware of his

     conviction and remains supportive of him. Id. at~~ 69-70.

            Defendant grew up in a poor household. Id. at if 71. He left school after completing the

     sixth or seventh grade because he was placed in foster care. Id at if 83. He earned his Gener~

     Educational Development diploma in 2013 while he was incarcerated. Id. at if 82.

            Defendant currently does not use drugs or alcohol. Id. at if 81. He has no income and

     relied on his sister for financial assistance since he was 18 years of age. Id at ifif 85, 87. Mr.

     Trotter's involvement in the DTO involved no violence, use of firearms, or supervision of others.

     Id at~ 9. He has repeatedly accepted responsibility for his offenses. Id at~~ 57-58; Def. 's

     Sentencing Mem., Sept. 23, 2016, ECF No. 270, at 5. Shortly b~fore the sentencing hearing on

     October 5, 2016, Mr. Trotter received news that his brother had been shot to death. Id

V.          Sentence

            Under section 3553(a)(2)(B) of title 18, a sentencing court must consider two major

     factors: general and specific deterrence.

            In light of the nature of the offense and the characteristics of the defendant, Mr. Trotter is

     sentenced to two years, with time-served of approximately 15 months. See Oct. 7 Sent. Hr' g.

     The court recommended that in the last six months of his sentence, Mr. Trotter be transferred to a

 facility such as a halfway house that will assist him in his re-integration into his community. Id.

 A $100 special assessment was imposed. 18 U.S.C. § 3013. No fine was imposed in light of the

     defendant's inability to pay one. See Oct. 7 Sent. Hr'g; PSR at~ 87. Three years supervised

 release was ordered. See Oct. 7 Sent. Hr'g. The underlying indictment under 21 U.S.C. §

     841(a)(l) was dismissed by the court. See Oct. 7 Sent. Hr'g.



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              General and specific deterrence are achieved by the sentence imposed. Mr. Trotter pied

      guilty to a serious offense. He has expressed genuine remorse for his conduct and understands

      the gravity of his actions.

VI.           Conclusion

             All relevant elements of the Guidelines and statutes have been considered. Respectful

      consideration was given to the Sentencing Commission's policy statements, and all other factors

      listed under section 3553(a) of title 18, to ensure that the sentence is "sufficient, but not greater

      than necessary, to comply with the purposes" of sentencing. 18 U.S.C. § 3553(a).




                                                                ck B. Weinstein
                                                               enior United States District Judge
      Dated: October 11, 2016
             Brooklyn, New York




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